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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

LORI MCDANIEL,                               )
                                             )
       Plaintiff,                            )
                                             )
       v.                                    )    CIV. ACT. NO. 3:19-cv-67-ECM
                                             )
BRANCH BANKING AND                           )
TRUST COMPANY,                               )
                                             )
       Defendant.                            )

                                        ORDER

       Now pending before the Court is the parties’ Joint Motion to Dismiss (doc. 5) filed

on February 5, 2019, which the court construes as a Joint Stipulation of Dismissal pursuant

to Federal Rule of Civil Procedure 41(a). Because the Joint Stipulation of Dismissal

comports with FED.R.CIV.P. 41(a), this action has been dismissed with prejudice by

operation of Rule 41, on the terms agreed to and set out by the parties.

       The Clerk of the Court is DIRECTED to close this case

       DONE this 6th day of February, 2019.

                                                 /s/ Emily C. Marks
                                          EMILY C. MARKS
                                          CHIEF UNITED STATES DISTRICT JUDGE
